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Exhibit J

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Inspiration or plagiarism? Writing hackles

raised in Boston dispute

ANTHIA CUMMING/ISTOCKPHOTG

By Graham Ambrose

GLOBE CORRESPONDENT JULY 26, 2018

Good artists copy, but great artists steal, or so the old saying goes. But the truth may be far
more complicated, as shown by a recent case of alleged plagiarism that rattled through

Boston’s literary scene.

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Accusations arose in June that a small section of a piece of short fiction chosen by the Boston
Book Festival for its annual One City One Story program contained material lifted from
another, real-life source. The group is planning to distribute now slightly modified copies of

the work for free starting in late August.

The story, “The Kindest,” by Boston writer Sonya Larson, involves a kidney donation and
was published last year in American Short Fiction to praise and acclaim. The objections,
raised by a former friend of Larson who said the writer had lifted material from her
Facebook post, eventually triggered legal and ethical inquiries, as well as questions of when
and how it is acceptable for the stuff of real life — someone else’s life in particular — to be

transformed into art.

The dispute began in June 2015, when Los Angeles writer
Dawn Dorland made a kidney donation. Dorland, who
lived in Boston until 2011, says she has known Larson
since 2005 as a friend and colleague at GrubStreet, the
Boston literary nonprofit where Larson serves as director

of the Muse in the Marketplace conference and advocacy.

Larson belonged to a private Facebook group in which CHRIS PERRY
Dawn Dorland

Dorland posted updates for friends and family about her

donation process.

In July 2015, a few weeks after her operation, Dorland posted a 380-word open letter she

had written to a beneficiary of her donation about why she decided to get involved.

“In 2009 I read my first article about living kidney donation, and in the years since, I have
been constantly reminded — whether triggered by my reading (I am a writer), or through the
stories of people I know — of the harrowing experience of dialysis and the dire need in our

country for kidneys,” Dorland wrote.

Larson has acknowledged that she saw the letter and that Dorland’s donation to a stranger
helped inspire her to write “The Kindest,” a story told from the perspective of a woman who

receives a kidney.

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Larson never mentioned to Dorland the story she was working on. In June 2016, when
Dorland heard about the tale through a mutual friend, she felt surprised and hurt not to have

been looped in.

Dorland confronted Larson, who in turn defended her actions. “I want to emphasize that my
story is not about you or your particular gift, but about narrative possibilities I began
thinking about in the context of kidney donation,” Larson wrote in an e-mail. “It is a work of

fiction, formed wholly by my particular imagination,” she said in another.

Dorland did not read the story until June 2018, when she was surprised to find a donor letter
in Larson’s fiction that bore striking similarities to her own. Dorland’s feeling of personal

betrayal turned to professional indignation.

“I think it’s fairly obvious she was working from a copy of my letter,” Dorland said. “This
isn’t really writing. It’s almost like Mad Libs. ‘I’ve got this structure and now I’m going to
plug-and-play.’ ”

For instance, this is a line in Dorland’s original letter: “I focused a majority of my mental

energy on imagining and celebrating you.”

“I withstood the pain by imagining and rejoicing in YOU,” reads a line in the version of “The
Kindest” published by American Short Fiction.

The original, 2016 version of “The Kindest,” published on Audible.com, put it even more

closely: “I channeled my energies into imagining and celebrating YOU.”

“The Kindest” runs about 5,500 words, and the portion in question makes up about 100
words of that.

Larson denies copying Dorland’s post. “There’s only so many ways to write this letter. It’s a
standard letter you write, and you can go online and find many samples of it — which is what

I did. I wrote my own fictional letter,” she said.

“Fiction writers encounter ideas all the time from real life,” she added. “You’d be hard-

pressed to find a writer who doesn’t work with real-life materials and fictionalize them.

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Dorland said that some lawyers told her that the story might constitute an infringement of

intellectual property law.

But lawyers consulted by the Globe say that while there appear to be strong similarities
between the Facebook post and the note in the story, Dorland’s case could be a difficult one

to win.

According to Joseph Liu, a professor at Boston College Law School, Larson could mount two
defenses: de minimis, or the idea that the extent of the copying is minimal so not worthy of
punishment; and fair use, a doctrine of copyright law that allows for materials to be copied
on a limited basis without permission from the original owner for certain educational or

artistic purposes.

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At this time it is not possible to print the document with annotations.

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But some writers and editors say they can understand why the incident might trigger a

confrontation, legal questions nowithstanding.

“As a writer, I would have told my friend, ‘Hey, I’m writing this story. Can I use that?’ I
would have gotten permission,” said Bret Lott, a novelist and former editor of The Southern

Review. “It screams, ‘I should have talked to my friend.’”

For their part, the institutions that have published “The Kindest” view the dispute as a
private matter between the two writers, although both the Boston Book Festival and

American Short Fiction have taken steps in reaction to Dorland’s accusation.

‘The Book Festival asked Larson to rewrite the offending passages and printed a statement to
accompany the story before printing it: “ “The Kindest’ originally appeared, in slightly
different form, in American Short Fiction Summer 2017.” The story will be discussed at a

town hall event at the festival in October.

Deborah Porter, festival founder and executive director, said that the story-selection

committee was “100 percent unanimous that that was the appropriate acknowledgment.”

American Short Fiction, which posted “The Kindest” online in May, decided to pull the story

from the site in late June.

“After doing our due diligence, we found this to be more of a private issue between two
acquainted writers,” the editors said in a statement to the Globe. “In any case, the story had
completed a one-month run on our website, and in the interests of finding an agreeable

solution, we decided to sunset it.”

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Dorland says that she would be satisfied with an apology and a more specific
acknowledgment of her contribution to the story, which she feels has been “erased” from the

work.

“We as writers are free to do what we're free to do,” Dorland said. “But I’m not going to hurt
people I know by letting them read about their lives in my fiction first. If I’m going to borrow

something from someone’s life, I’m going to have a conversation with them.”

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ORIGINAL LETTER
by DAWN DORLAND

Ss [ believe that I knew, from the
moment I first became aware of the possibility of
donating one of my kidneys, that I would one day find a
way to do this.

I was motivated to donate
at atime when, due to medical advances and the existence
of the National Kidney Registry—especially the leaps
they've made matchin compatible s thr

I can't tell you how happy I am that my donation
eventually--two organs and four surgeries later--resulted
in your receiving xxxxxxx's kidney. Throughout my
preparation for becoming a donor, which spanned
precisely eight months from my first testing to the date of
our surgeries, I was most excited about the recipient who
would come off of the deceased donor list and end our

Thank you for reading this letter, and be well.

Kindly,
Dewn

EXCERPT FROM “THE KINDEST” (Brilliance
Audio 2016 version)
by SONYA LARSON

[...]

I’m grateful to the entire transplant team at MGH, who
gave such attentive care from my very first blood test ta
the date of our paired exchange.

A few things about me: I like sailing, camping, jewelry,
and cats.

As I prepared to make this gift, what sustained me was the
knowledge that my recipient would be getting a second
chance at life

Warmly,

Rose M. Rothario

